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                                                                                       Sep 10 2021
               DISTRICT COURT OF TFIE LINITED STATES
                  EASTERN DISTRICT OF LOUISIANA
                      NEW ORLEANS DIVISION
                                     Case: 21-603


                                      ln Re: Ex REL

       FERDINAND BERNARD BRANCH JR. 28034 Napoleon Rd. Lacombe70445
    LIRYCA CFIARMAINE NEVILLE 159 Honeywood Dr. Slidell7046l
    GAYNELLE HOUSEY NEVILLE 159 Honeywood Dr. Slidell 70461
                                       Petitioners
                                           Vs.
                                    Vincent Lobello
                                    Defendants et al




                                      MOTION
             To Compel & Objection to Magistrates Order


HEREIN COMES Petitioners to Compel defendants to provide the names of the 12 FBI
agents, to petitioners for the following reasons:

       1     Petitioners have exhausted the normal channel to obtain the names of FBI
      agents who were present at the home of plaintiffs.

      2      Attached to this Motion, is a "Subpoena" to get discovery, [even though      it
      may be premature to request discovery] to get the 12 names of FBI agents who
      are running and attempting to hide.

      3       Petitioners are not intending to abuse, disrespect or any of the like of the
      court. Because of the nature of this complaint, and the widespread comrption
      throughout the judicial system of America, from statistics from 2020 there is
      prejudice and biased towards American-Indians [so-called African Americans or
      Blacks] from the federal government crime office. Petitioners are simply seeking
      due process and adjudication pursuant to the "Rule of Law".

OBJECTIONS

      I      Petitioners, are NOT asking the court to perform as a "Process Server" nor
      are the petitioners intentionally abusing the courts   resources.   TENOERED FOR Fll.lNG



                                                                             sEP 1    0   2021

                                                                          U.S. DISTRICTCOURT
                                                                        Eeotom Dlstrlct of Louisiana
                                                                               Doputy Clerk
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             2      Petitioners are not Sovereign Citizens and yes we claim Article 4, sec 2.
             Constitution of the United States and Article 7 of the Treaty of 1866.

             3      Petitioners are not reiterating facts again before this court, only what
             procedures adhered to, to obtain the names for suit.

             4       If the Magistrate is biased or prejudice to petitioners because she believes
             we a.re sovereign citizens [which is ridiculous, you cant be aCitizen if you are a
             Sovereign, vice versa.]

rhis'lrht        day   of JzClelnlos;
                            7-
                                                           2021
                             I




                                              JR.

                                                              ALa;"J
L           CA                   NEVILLE

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                                          CERTIFICATE OF SERVICE

Petitioners herein have deposited a copy of this motion with the US Postal Service to
deliver to:
                                          WARREN MONTGOMERY
                                            DISTRICT ATTORNEY
                                           701 North Columbia Street
                                             Covington, LA70433
                                                   98s-809-8383

ThisTfday of September            2021
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                                                 '')c,
                                 BRANCH JR.
                                      )                           ,j1-tJ,-J
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